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EXHIBIT B
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HIGHLIGHTS OF PRESCRIBING INFORMATION

These highlights do not include all the information needed to use
XARELTO* (rivaroxaban) safely and effectively. See full prescribing
information for XARELTO.

XARELTO (rivaroxaban) tablets, for oral use
Initial U.S. Approval: 2011

STROKE, (B) SPINAL/EPIDURAL HEMATOMA
See full prescribing information for complete boxed warning

A. DISCONTINUING XARELTO IN PATIENTS WITH
NONVALVULAR ATRIAL FIBRILLATION

Discontinuing XARELTO places patients at an increased risk of

thrombotic events, If anticoagulation with XARELTO must be

discontinued for a reason other than pathological bleeding, consider

administering another anticoagulant (2.1, 5.1, 14.1).

B. SPINAL/EPIDURAL HEMATOMA
Epidural or spinal hematomas have occurred in patients treated with

puncture. These hematomas may result in long-term or permanent
paralysis (5.2, 5.3, 6.2).

Monitor patients frequently for signs and symptoms of neurological
impairment, If neurological compromise is noted, urgent treatment is
necessary (5.3).

anticoagulated or to be anticoagulated for thromboprophylaxis (5.3).

WARNINGS: (A) DISCONTINUING XARELTO IN PATIENTS WITH
NONVALVULAR ATRIAL FIBRILLATION INCREASES RISK OF

XARELTO who are receiving neuraxial anesthesia or undergoing spinal

Consider the benefits and risks before neuraxial intervention in patients

RECENT MAJOR CHANGES ---+-+-------000e=seenene=
Boxed Warning 11/2011
Indications and Usage (1.1) 11/2011
Dosage and Administration (2.1, 2.3) 11/2011
Contraindications (4) 11/2011
Warnings and Precautions (5.1, 5.2, 5.5) : 11/2011

INDICATIONS AND USAGE--~----------02--222200nnoe

XARELTO is a factor Xa inhibitor indicated: ,

¢ to reduce the risk of stroke and systemic embolism in patients with
nonvalvular atrial fibrillation (1.1)

e for the prophylaxis of deep vein thrombosis (DVT), which may lead to

pulmonary embolism (PE) in patients undergoing knee or hip replacement

surgery (1.2)

e  Nonyalyular Atrial Fibrillation:
o For patients with CrCl >50 mL/min: 20 mg orally, once daily with
the evening meal (2.1)
o For patients with CrCl 15 - 50 mL/min: 15 mg orally, once daily
with the evening meal (2.1)
o Avoid use in patients with CrCl <15 mL/min (2.3)
. Prophylaxis of DVT: 10 mg orally, once daily with or without food (2.2)
. Hepatic impairment (for nonvalvular AF and prophylaxis of DVT
indications):
o Avoid use in patients with moderate (Child-Pugh B) and severe
(Child-Pugh C) hepatic impairment or with any degree of hepatic
disease associated with coagulopathy (2.3, 8.8).

Tablets; 10 mg, 15 mg, and 20 mg (3)
CONTRAINDICATIONS
. Active pathological bleeding (4)
e Severe hypersensitivity reaction to XARELTO (4)

. Risk of bleeding: XARELTO can cause serious and fatal bleeding.
Promptly evaluate signs and symptoms of blood loss. (5.2)

. Pregnancy related hemorrhage: Use XARELTO with caution in pregnant
women due to the potential for obstetric hemorrhage and/or emergent
delivery. Promptly evaluate signs and symptoms of blood loss. (5.4)

ADVERSE REACTIONS

The most common adverse reaction (>5%) was bleeding. (6.1)

To report SUSPECTED ADVERSE REACTIONS, contact Janssen

Pharmaceuticals, Inc. at 1-800-526-7736 or FDA at 1-800-FDA-1088 or

www. fda. gov/medwatch,

DRUG INTERACTIONS:

e Combined P-gp and strong CYP3A4 inhibitors and inducers: Avoid
concomitant use (7.1, 7.2)

. Prophylaxis of DVT:
o Anticoagulants: Avoid concomitant use (7.3)

* Nursing mothers: discontinue drug or discontinue nursing (8.3)
. Renal impairment:
o Prophylaxis of DVT: Avoid use in patients with severe impairment
(CrCl <30 mL/min). Use with caution in moderate impairment
(CrCI 30 to <50 mL/min) (8.7)

See 17 for PATIENT COUNSELING INFORMATION and Medication
Guide.
Revised: 11/2011

FULL PRESCRIBING INFORMATION: CONTENTS*

WARNINGS: (A) DISCONTINUING XARELTO IN
PATIENTS WITH NONVALVULAR ATRIAL
FIBRILLATION INCREASES RISK OF STROKE,
(B)SPINAL/EPIDURAL HEMATOMA

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FULL PRESCRIBING INFORMATION

WARNINGS: (A) DISCONTINUING XARELTO IN PATIENTS WITH
NONVALVULAR ATRIAL FIBRILLATION INCREASES RISK OF STROKE,
(B) SPINAL/EPIDURAL HEMATOMA

A. DISCONTINUING XARELTO IN PATIENTS WITH NONVALVULAR ATRIAL
FIBRILLATION

Discontinuing XARELTO places patients at an increased risk of thrombotic events. An
increased rate of stroke was observed following XARELTO discontinuation in clinical
trials in atrial fibrillation patients. If anticoagulation with XARELTO must be
discontinued for a reason other than pathological bleeding, consider administering another
anticoagulant /see Dosage and Administration (2.1), Warnings and Precautions (5.1), and
Clinical Studies (14.1)].

B. SPINAL/EPIDURAL HEMATOMA

Epidural or spinal hematomas have occurred in patients treated with XARELTO who are

receiving neuraxial anesthesia or undergoing spinal puncture. These hematomas may

result in long-term or permanent paralysis. Consider these risks when scheduling patients

for spinal procedures. Factors that can increase the risk of developing epidural or spinal

hematomas in these patients include:

e use of indwelling epidural catheters

e concomitant use of other drugs that affect hemostasis, such as non-steroidal anti-
inflammatory drugs (NSAIDs), platelet inhibitors, other anticoagulants

e a history of traumatic or repeated epidural or spinal punctures

e ahistory of spinal deformity or spinal surgery

[see Warnings and Precautions (5.2, 5.3) and Adverse Reactions (6.2)].

Monitor patients frequently for signs and symptoms of neurological impairment. If
neurological compromise is noted, urgent treatment is necessary [see Warnings and
Precautions (5.3)].

Consider the benefits and risks before neuraxial intervention in patients anticoagulated or
to be anticoagulated for thromboprophylaxis /see Warnings and Precautions (5.3)].

1 INDICATIONS AND USAGE
4.1. Reduction of Risk of Stroke and Systemic Embolism in Nonvalvular Atrial

Fibrillation
XARELTO (rivaroxaban) is indicated to reduce the risk of stroke and systemic embolism in

patients with nonvalvular atrial fibrillation.

There are limited data on the relative effectiveness of XARELTO and warfarin in reducing the
risk of stroke and systemic embolism when warfarin therapy is well-controlled /see Clinical
Studies (14.1)].

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1.2 Prophylaxis of Deep Vein Thrombosis

XARELTO (rivaroxaban) is indicated for the prophylaxis of deep vein thrombosis (DVT), which
may lead to pulmonary embolism (PE) in patients undergoing knee or hip replacement surgery.

2 DOSAGE AND ADMINISTRATION

2.1 Nonvalvular Atrial Fibrillation

For patients with creatinine clearance (CrCl) >50 mL/min, the recommended dose of XARELTO
is 20 mg taken orally once daily with the evening meal. For patients with CrCl 15 to 50 mL/min,
the recommended dose is 15mg once daily with the evening meal /see Use in Specific
Populations (8.7)].

Switching from or to Warfarin - When switching patients from warfarin to XARELTO,
discontinue warfarin and start XARELTO as soon as the International Normalized Ratio (INR) is

below 3.0 to avoid periods of inadequate anticoagulation.

No clinical trial data are available to guide converting patients from XARELTO to warfarin.
XARELTO affects INR, so INR measurements made during co-administration with warfarin
may not be useful for determining the appropriate dose of warfarin. One approach is to
discontinue XARELTO and begin both a parenteral anticoagulant and warfarin at the time the
next dose of XARELTO would have been taken.

Switching from or to Anticoagulants other than Warfarin - For patients currently receiving an
anticoagulant other than warfarin, start XARELTO 0 to 2 hours prior to the next scheduled
evening administration of the drug (e.g., low molecular weight heparin or non-warfarin oral
anticoagulant) and omit administration of the other anticoagulant. For unfractionated heparin
being administered by continuous infusion, stop the infusion and start XARELTO at the same

time.

For patients currently taking XARELTO and transitioning to an anticoagulant with rapid onset,
discontinue XARELTO and give the first dose of the other anticoagulant (oral or parenteral) at
the time that the next XARELTO dose would have been taken /see Drug Interactions (7.3)].

2.2 Prophylaxis of Deep Vein Thrombosis

The recommended dose of XARELTO is 10 mg taken orally once daily with or without food.
The initial dose should be taken at least 6 to 10 hours after surgery once hemostasis has been

established.

e For patients undergoing hip replacement surgery, treatment duration of 35 days is
recommended.

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e For patients undergoing knee replacement surgery, treatment duration of 12 days is
recommended.

2.3. General Dosing Instructions

Hepatic Impairment

No clinical data are available for patients with severe hepatic impairment. Avoid use of
XARELTO in patients with moderate (Child-Pugh B) and severe (Child-Pugh C) hepatic
impairment or with any hepatic disease associated with coagulopathy /see Use in Specific
Populations (8.8)].

Renal Impairment

Nonvalvular Atrial Fibrillation

Avoid the use of XARELTO in patients with CrCl <15.mL/min. Periodically assess renal
function as clinically indicated (i.e., more frequently in situations in which renal function may
decline) and adjust therapy accordingly. Discontinue XARELTO in patients who develop acute
renal failure while on XARELTO [see Use in Specific Populations (8.7)].

Prophylaxis of Deep Vein Thrombosis

Avoid the use of XARELTO in patients with severe renal impairment (CrCl <30 mL/min) due to
an expected increase in rivaroxaban exposure and pharmacodynamic effects in this patient
population. Observe closely and promptly evaluate any signs or symptoms of blood loss in
patients with moderate renal impairment (CrCl 30 to 50 mL/min). Patients who develop acute
renal failure while on XARELTO should discontinue the treatment [see Use in Specific
Populations (8.7)].

Surgery and Intervention
If anticoagulation must be discontinued to reduce the risk of bleeding with surgical or other

procedures, XARELTO should be stopped at least 24 hours before the procedure. In deciding
whether a procedure should be delayed until 24 hours after the last dose of XARELTO, the
increased risk of bleeding should be weighed against the urgency of intervention. XARELTO
should be restarted after the surgical or other procedures as soon as adequate hemostasis has
been established. If oral medication cannot be taken after surgical intervention, consider

administering a parenteral anticoagulant.

Missed Dose
If a dose of XARELTO is not taken at the scheduled time, administer the dose as soon as

possible on the same day.

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Use with P-gp and Strong CYP3A4 Inhibitors or Inducers

Avoid concomitant use of XARELTO with combined P-gp and strong CYP3A4 inhibitors (e.g.,
ketoconazole, itraconazole, lopinavir/ritonavir, ritonavir, indinavir/ritonavir, and conivaptan)
[see Drug Interactions (7.1)].

Avoid concomitant use of XARELTO with drugs that are combined P-gp and strong CYP3A4
inducers (e.g., carbamazepine, phenytoin, rifampin, St. John’s wort) [see Drug Interactions

(7.2)].

3 DOSAGE FORMS AND STRENGTHS

© 10mg tablets: Round, light red, biconvex and film-coated with a triangle pointing down
above a “10” marked on one side and “Xa” on the other side

e 15 mg tablets: Round, red, biconvex, and film-coated with a triangle pointing down above a
“15” marked on one side and “Xa” on the other side

e 20mg tablets: Triangle-shaped, dark red, and film-coated with a triangle pointing down
above a “20” marked on one side and “Xa” on the other side

4 CONTRAINDICATIONS
XARELTO is contraindicated in patients with:
e active pathological bleeding /see Warnings and Precautions (5.2)]
e severe hypersensitivity reaction to XARELTO /see Warnings and Precautions (5.5)]

5 WARNINGS AND PRECAUTIONS

5.1 Increased Risk of Stroke after Discontinuation in Nonvalvular Atrial
Fibrillation

Discontinuing XARELTO in the absence of adequate alternative anticoagulation increases the

risk of thrombotic events. An increased rate of stroke was observed during the transition from

XARELTO to warfarin in clinical trials in atrial fibrillation patients. If XARELTO must be

discontinued for a reason other than pathological bleeding, consider administering another

anticoagulant [see Dosage and Administration (2.1) and Clinical Studies (14.1)].

5.2 Risk of Bleeding

XARELTO increases the risk of bleeding and can cause serious or fatal bleeding. In deciding
whether to prescribe XARELTO to patients at increased risk of bleeding, the risk of thrombotic
events should be weighed against the risk of bleeding.

Promptly evaluate any signs or symptoms of blood loss. Discontinue XARELTO in patients with

active pathological hemorrhage.

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A specific antidote for rivaroxaban is not available. Because of high plasma protein binding,
rivaroxaban is not expected to be dialyzable /see Clinical Pharmacology (12.3)]. Protamine
sulfate and vitamin K are not expected to affect the anticoagulant activity of rivaroxaban. There
is no experience with antifibrinolytic agents (tranexamic acid, aminocaproic acid) in individuals
receiving rivaroxaban. There is neither scientific rationale for benefit nor experience with
systemic hemostatics (desmopressin and aprotinin) in individuals receiving rivaroxaban. Use of
procoagulant reversal agents such as prothrombin complex concentrate (PCC), activated
prothrombin complex concentrate (APCC), or recombinant factor Vila (rF VIIa) may be
considered, but has not been evaluated in clinical trials.

Concomitant use of drugs affecting hemostasis increases the risk of bleeding. These include
aspirin, P2Y2 platelet inhibitors, other antithrombotic agents, fibrinolytic therapy, and non-
steroidal anti-inflammatory drugs (NSAIDs) [see Drug Interactions (7.3), (7.4), (7.5)].

Concomitant use of drugs that are combined P-gp and CYP3A4 inhibitors (e.g. ketoconazole and
ritonavir) increases rivaroxaban exposure and may increase bleeding risk /see Drug Interactions

(7.))].

5.3 Spinal/Epidural Anesthesia or Puncture

When neuraxial anesthesia (spinal/epidural anesthesia) or spinal puncture is employed, patients
treated with anticoagulant agents for prevention of thromboembolic complications are at risk of
developing an epidural or spinal hematoma which can result in long-term or permanent paralysis

[see Boxed Warning].

An epidural catheter should not be removed earlier than 18 hours after the last administration of
XARELTO. The next XARELTO dose is not to be administered earlier than 6 hours after the
removal of the catheter. If traumatic puncture occurs, the administration of XARELTO is to be
delayed for 24 hours.

5.4 Risk of Pregnancy Related Hemorrhage

XARELTO should be used with caution in pregnant women and only if the potential benefit
justifies the potential risk to the mother and fetus. XARELTO dosing in pregnancy has not been
studied. The anticoagulant effect of XARELTO cannot be monitored with standard laboratory
testing nor readily reversed. Promptly evaluate any signs or symptoms suggesting blood loss
(e.g., a drop in hemoglobin and/or hematocrit, hypotension, or fetal distress).

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5.5 Severe Hypersensitivity Reactions

There were postmarketing cases of anaphylaxis in patients treated with XARELTO to reduce the
risk of DVT. Patients who have a history of a severe hypersensitivity reaction to XARELTO
should not receive XARELTO [see Adverse Reactions (6.2)].

6 ADVERSE REACTIONS

6.1 Clinical Trials Experience

Because clinical trials are conducted under widely varying conditions, adverse reaction rates
observed in the clinical trials of a drug cannot be directly compared to rates in the clinical trials
of another drug and may not reflect the rates observed in clinical practice.

During clinical development for the approved indications, 11598 patients were exposed to
XARELTO. These included 7111 patients who received XARELTO 15 mg or 20 mg orally once
daily for a mean of 19 months (5558 for 12 months and 2512 for 24 months) to reduce the risk of
stroke and systemic embolism in nonvalvular atrial fibrillation (ROCKET AF) and 4487 patients
who received XARELTO 10 mg orally once daily for prophylaxis of DVT following hip or knee
replacement surgery (RECORD 1-3).

Hemorrhage
The most common adverse reactions with XARELTO were bleeding complications /see

Warnings and Precautions (5.2)].

Nonvalvular Atrial Fibrillation

In the ROCKET AF trial, the most frequent adverse reactions associated with permanent drug
discontinuation were bleeding events, with incidence rates of 4.3% for XARELTO vs. 3.1% for
warfarin. The incidence of discontinuations for non-bleeding adverse events was similar in both

treatment groups.

Table 1 shows the number of patients experiencing various types of bleeding events in the
ROCKET AF study.

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Table 1: Bleeding Events in ROCKET AF*

Parameter XARELTO Event Rate Warfarin Event Rate
N=7111 (per 100 Pt-yrs) N = 7125 (per 100 Pt-yrs)
n (%) n (%)
Major bleeding’ 395 (5.6) 3.6 386 (5.4) 3.5
Bleeding into a critical organ? 91 (1.3) 0.8 133 (1.9) 1.2
Fatal bleeding 27 (0.4) 0,2 55 (0.8) 0.5
Bleeding resulting in transfusion 183 (2.6) 1.7 149 (2.1) 13

of > 2 units of whole blood or
packed red blood cells

Gastrointestinal bleeding 221 (3.1) 2.0 140 (2.0) 1.2

* For all sub-types of major bleeding, single events may be represented in more than one row, and individual
patients may have more than one event.

* Defined as clinically overt bleeding associated with a decrease in hemoglobin of = 2 g/dL, transfusion of > 2 units
of packed red blood cells or whole blood, bleeding at a critical site, or with a fatal outcome. Hemorrhagic strokes
are counted as both bleeding and efficacy events. Major bleeding rates excluding strokes are 3.3 per 100 Pt-yrs for
XARELTO vs. 2.9 per 100 Pt-yrs for warfarin.

* The majority of the events were intracranial, and also included intraspinal, intraocular, pericardial, intraarticular,
intramuscular with compartment syndrome, or retroperitoneal.

Prophylaxis of Deep Vein Thrombosis
In the RECORD clinical trials, the overall incidence rate of adverse reactions leading to

permanent treatment discontinuation was 3.7% with XARELTO.

The mean duration of XARELTO treatment was 11.9 days in the total knee replacement study
and 33.4 days in the total hip replacement studies. Overall, in the RECORD program, the mean
age of the patients studied in the XARELTO group was 64 years, 59% were female and 82%
were Caucasian. Twenty-seven percent (1206) of patients underwent knee replacement surgery
and 73% (3281) underwent hip replacement surgery.

The rates of major bleeding events and any bleeding events observed in patients in the RECORD
clinical trials are shown in Table 2.

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Table 2: Bleeding Events’ in Patients Undergoing Hip or Knee Replacement Surgeries (RECORD 1-3)

XARELTO 10 mg Enoxaparin'
Total treated patients N = 4487 N = 4524
n (%) n(%)
Major bleeding event 14 (0.3) 9 (0.2)
Fatal bleeding 1 (<0.1) Q
Bleeding into a critical organ 2 (<0.1) 3 (0.1)
Bleeding that required re-operation 7 (0.2) 5 (0.1)
Extra-surgical site bleeding 4 (0.1) 1 (<0.1)
requiring transfusion of >2 units of
whole blood or packed cells
Any bleeding event! 261 (5.8) 251 (5.6)
Hip Surgery Studies N = 3281 N = 3298
n (%) n (%)
Major bleeding event 7 (0.2) 3 (0.1)
Fatal bleeding 1 (<0.1) 0
Bleeding into a critical organ 1 (<0.1) 1 (<0.1)
Bleeding that required re-operation 2 (0.1) 1 (<0.1)
Extra-surgical site bleeding 3 (0.1) 1 (<0.1)
requiring transfusion of >2 units of
whole blood or packed cells
Any bleeding event! 201 (6.1) 191 (5.8)
Knee Surgery Study N = 1206 N = 1226
n (%) n (%)
Major bleeding event 7 (0.6) 6 (0.5)
Fatal bleeding 0 0
Bleeding into a critical organ 1 (0.1) 2 (0.2)
Bleeding that required re-operation 5 (0.4) 4 (0.3)
Extra-surgical site bleeding 1 (0.1) 0
requiring transfusion of >2 units of
whole blood or packed cells
Any bleeding event! 60 (5.0) 60 (4.9)

Bleeding events occurring any time following the first dose of double-blind study medication (which may
have been prior to administration of active drug) until two days after the last dose of double-blind study
medication. Patients may have more than one event.

* Includes the placebo-controlled period for RECORD 2, enoxaparin dosing was 40 mg once daily (RECORD

1-3)
* Includes major bleeding events

Following XARELTO treatment, the majority of major bleeding complications (260%) occurred
during the first week after surgery.

Other Adverse Reactions
Non-hemorrhagic adverse drug reactions (ADRs) reported in 21% of XARELTO-treated patients

are shown in Table 3.

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Table 3: Other Adverse Drug Reactions’ Reported by 21% of XARELTO-Treated Patients in RECORD

1-3 Studies

System/Organ Class XARELTO Enoxaparin'

Adverse Reaction 10 mg

(N = 4487) (N = 4524)
n(%) n(%)

Injury, poisoning and procedural
complications

Wound secretion 125 (2.8) 89 (2.0)
Musculoskeletal and connective
tissue disorders

Pain in extremity 74 (1.7) 55 (1.2)

Muscle spasm 52 (1.2) 32 (0.7)
Nervous system disorders

Syncope 55 (1.2) 32 (0.7)
Skin and subcutaneous tissue
disorders

Pruritus 96 (2.1) 79 (1.8)

Blister 63 (1.4) 40 (0.9)

ADR occurring any time following the first dose of double-blind medication, which may have been prior to
administration of active drug, until two days after the last dose of double-blind study medication.
Includes the placebo-controlled period of RECORD 2, enoxaparin dosing was 40 mg once daily (RECORD 1-3)

+

Other clinical trial experience: In an investigational study of acute medically ill patients being
treated with XARELTO 10mg tablets, cases of pulmonary hemorrhage and pulmonary
hemorrhage with bronchiectasis were observed.

6.2 Postmarketing Experience

The following adverse reactions have been identified during post-approval use of rivaroxaban.
Because these reactions are reported voluntarily from a population of uncertain size, it is not
always possible to reliably estimate their frequency or establish a causal relationship to drug

exposure.

Blood and lymphatic system disorders: agranulocytosis

Gastrointestinal disorders: retroperitoneal hemorrhage

Hepatobiliary disorders: jaundice, cholestasis, cytolytic hepatitis

Immune system disorders: hypersensitivity, anaphylactic reaction, anaphylactic shock

Nervous system disorders: cerebral hemorrhage, subdural hematoma, epidural hematoma,

hemiparesis

Skin and subcutaneous tissue disorders: Stevens-Johnson syndrome

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7 DRUG INTERACTIONS

Rivaroxaban is a substrate of CYP3A4/5, CYP2J2, and the P-gp and ATP-binding cassette G2
(ABCG2) transporters. Inhibitors and inducers of these CYP450 enzymes or transporters (e.g.,
P-gp) may result in changes in rivaroxaban exposure.

7.1. Drugs that Inhibit Cytochrome P450 3A4 Enzymes and Drug Transport
Systems

In drug interaction studies evaluating the concomitant use with drugs that are combined P-gp and

CYP3A4 inhibitors, increases in rivaroxaban exposure and pharmacodynamic effects (i.e., factor

Xa inhibition and PT prolongation) were observed. Significant increases in rivaroxaban exposure

may increase bleeding risk.

° Ketoconazole (combined P-gp and strong CYP3A4 inhibitor): Steady-state rivaroxaban AUC
and Cmax increased by 160% and 70%, respectively. Similar increases in pharmacodynamic

effects were also observed.

° Ritonavir (combined P-gp and strong CYP3A4 inhibitor): Single-dose rivaroxaban AUC and
Cmax increased by 150% and 60%, respectively. Similar increases in pharmacodynamic

effects were also observed.

© Clarithromycin (combined P-gp and strong CYP3A4 inhibitor): Single-dose rivaroxaban
AUC and Cmax increased by 50% and 40%, respectively. The smaller increases in exposure
observed for clarithromycin compared to ketoconazole or ritonavir may be due to the relative

difference in P-gp inhibition.

e Erythromycin (combined P-gp and moderate CYP3A4 inhibitor): Both the single-dose
rivaroxaban AUC and Cinax increased by 30%.

© Fluconazole (moderate CYP3A4 inhibitor): Single-dose rivaroxaban AUC and Cinax
increased by 40% and 30%, respectively.

Avoid concomitant administration of XARELTO with combined P-gp and strong CYP3A4
inhibitors (e.g., ketoconazole, itraconazole, lopinavir/ritonavir, ritonavir, indinavir/ritonavir, and
conivaptan), which cause significant increases in rivaroxaban exposure that may increase

bleeding risk.

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Prophylaxis of Deep Vein Thrombosis

When clinical data suggest a change in exposure is unlikely to affect bleeding risk (¢.g.,
clarithromycin, erythromycin), no precautions are necessary during coadministration with drugs
that are combined P-gp and CYP3A4 inhibitors.

7.2 Drugs that Induce Cytochrome P450 3A4 Enzymes and Drug Transport
Systems

In a drug interaction study, co-administration of XARELTO (20 mg single dose with food) with

a drug that is a combined P-gp and strong CYP3A4 inducer (rifampicin titrated up to 600 mg

once daily) led to an approximate decrease of 50% and 22% in AUC and Cinax, respectively.

Similar decreases in pharmacodynamic effects were also observed. These decreases in exposure

to rivaroxaban may decrease efficacy.

Avoid concomitant use of XARELTO with drugs that are combined P-gp and strong CYP3A4
inducers (e.g., carbamazepine, phenytoin, rifampin, St. John’s wort).

7.3 Anticoagulants

In a drug interaction study, single doses of enoxaparin (40 mg subcutaneous) and XARELTO
(10 mg) given concomitantly resulted in an additive effect on anti-factor Xa activity. Enoxaparin
did not affect the pharmacokinetics of rivaroxaban. In another study, single doses of warfarin
(15 mg) and XARELTO (5 mg) resulted in an additive effect on factor Xa inhibition and PT.
Warfarin did not affect the pharmacokinetics of rivaroxaban.

Prophylaxis of Deep Vein Thrombosis
Avoid concurrent use of XARELTO with other anticoagulants due to the increased bleeding risk.
Promptly evaluate any signs or symptoms of blood loss /see Warnings and Precautions (35.2)].

7.4 NSAIDs/Aspirin

In ROCKET AF, concomitant aspirin use (almost exclusively at a dose of 100 mg or less) during
the double-blind phase was identified as an independent risk factor for major bleeding. NSAIDs
are known to increase bleeding, and bleeding risk may be increased when NSAIDs are used
concomitantly with XARELTO. In a single-dose drug interaction study there were no
pharmacokinetic or pharmacodynamic interactions observed after concomitant administration of
naproxen or aspirin (acetylsalicylic acid) with XARELTO.

Promptly evaluate any signs or symptoms of blood loss if patients are treated concomitantly with
aspirin, other platelet aggregation inhibitors, or NSAIDs /see Warnings and Precautions (5.2)].

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7.5 Clopidogrel

In two drug interaction studies where clopidogrel (300 mg loading dose followed by 75 mg daily
maintenance dose) and XARELTO (15 mg single dose) were co-administered in healthy
subjects, an increase in bleeding time to 45 minutes was observed in approximately 45% and
30% of subjects in these studies, respectively. The change in bleeding time was approximately
twice the maximum increase seen with either drug alone. There was no change in the

pharmacokinetics of either drug.

Promptly evaluate any signs or symptoms of blood loss if patients are treated concomitantly with
clopidogrel [see Warnings and Precautions (5.2)].

7.6 Drug-Disease Interactions with Drugs that Inhibit Cytochrome P450 3A4
Enzymes and Drug Transport Systems

Based on simulated pharmacokinetic data, patients with renal impairment receiving full dose
XARELTO in combination with drugs classified as combined P-gp and weak or moderate
CYP3A4 inhibitors (e.g., amiodarone, diltiazem, verapamil, quinidine, ranolazine, dronedarone,
felodipine, erythromycin, and azithromycin) may have significant increases in exposure
compared with patients with normal renal function and no inhibitor use, since both pathways of

rivaroxaban elimination are affected.

While increases in rivaroxaban exposure can be expected under such conditions, results from an
analysis in the ROCKET AF trial, which allowed concomitant use with combined P-gp and weak
or moderate CYP3A4 inhibitors (e.g., amiodarone, diltiazem, verapamil, chloramphenicol,
cimetidine, and erythromycin), did not show an increase in bleeding in patients with
CrCl 30 to <50 mL/min [Hazard Ratio (95% Cl): 1.05 (0.77, 1.42)]. XARELTO should be used
in patients with CrCL 15 to 50 mL/min who are receiving concomitant combined P-gp and weak
or moderate CYP3A4 inhibitors only if the potential benefit justifies the potential risk /see Use
in Specific Populations (8.7)].

8 USEIN SPECIFIC POPULATIONS
8.1. Pregnancy

Pregnancy Category C

There are no adequate or well-controlled studies of XARELTO in pregnant women, and dosing
for pregnant women has not been established. Use XARELTO with caution in pregnant patients
because of the potential for pregnancy related hemorrhage and/or emergent delivery with an
anticoagulant that is not readily reversible. The anticoagulant effect of XARELTO cannot be
reliably monitored with standard laboratory testing. Animal reproduction studies showed no
increased risk of structural malformations, but increased post-implantation pregnancy loss

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occurred in rabbits. XARELTO should be used during pregnancy only if the potential benefit
justifies the potential risk to mother and fetus /see Warnings and Precautions (5.4)].

Rivaroxaban crosses the placenta in animals. Animal reproduction studies have shown
pronounced maternal hemorrhagic complications in rats and an increased incidence of post-
implantation pregnancy loss in rabbits. Rivaroxaban increased fetal toxicity (increased
resorptions, decreased number of live fetuses, and decreased fetal body weight) when pregnant
rabbits were given oral doses of >10 mg/kg rivaroxaban during the period of organogenesis. This
dose corresponds to about 4 times the human exposure of unbound drug, based on AUC
comparisons at the highest recommended human dose of 20 mg/day. Fetal body weights
decreased when pregnant rats were given oral doses of 120 mg/kg. This dose corresponds to
about 14 times the human exposure of unbound drug.

8.2 Labor and Delivery

Safety and effectiveness of XARELTO during labor and delivery have not been studied in
clinical trials. However, in animal studies maternal bleeding and maternal and fetal death
occurred at the rivaroxaban dose of 40 mg/kg (about 6 times maximum human exposure of the
unbound drug at the human dose of 20 mg/day).

8.3 Nursing Mothers

It is not known if rivaroxaban is excreted in human milk. Rivaroxaban and/or its metabolites
were excreted into the milk of rats. Because many drugs are excreted in human milk and because
of the potential for serious adverse reactions in nursing infants from rivaroxaban, a decision
should be made whether to discontinue nursing or discontinue XARELTO, taking into account

the importance of the drug to the mother.

8.4 Pediatric Use

Safety and effectiveness in pediatric patients have not been established.

8.5 Geriatric Use

Of the total number of patients in the RECORD 1-3 clinical studies evaluating XARELTO, about
54% were 65 years and over, while about 15% were >75 years. In ROCKET AF, approximately
77% were 65 years and over and about 38% were >75 years. In clinical trials the efficacy of
XARELTO in the elderly (65 years or older) was similar to that seen in patients younger than 65
years. Both thrombotic and bleeding event rates were higher in these older patients, but the risk-
benefit profile was favorable in all age groups [see Clinical Pharmacology (12.3) and Clinical
Studies (14)].

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8.6 Females of Reproductive Potential

Females of reproductive potential requiring anticoagulation should discuss pregnancy planning

with their physician.

8.7. Renal Impairment

The safety and pharmacokinetics of single-dose XARELTO (10 mg) were evaluated in a study in
healthy subjects [CrCl] >80 mL/min (n=8)] and in subjects with varying degrees of renal
impairment (see Table 4). Compared to healthy subjects with normal creatinine clearance,
rivaroxaban exposure increased in subjects with renal impairment. Increases in
pharmacodynamic effects were also observed.

Table 4: Percent Increase of Rivaroxaban PK and PD Parameters from Normal in Subjects with Renal

Insufficiency from a Dedicated Renal Impairment Study
Renal Impairment Class

[CrCl (mL/min)]
Parameter Mild Moderate Severe
[50 to 79} [30 to 49] [15 to 29]
N=8 N=8 =8
Exposure AUC 44 52 64
(% increase relative to normal) Cmax 28 12 26
FXa Inhibition AUC 50 86 100
(% increase relative to normal) — Ewax 9 10 12
PT Prolongation AUC 33 116 144
(% increase relative to normal) Emax 4 17 20

PT = Prothrombin time; FXa = Coagulation factor Xa, AUC = Area under the concentration or effect curve;
Cmax = Maximum concentration; Emax = maximum effect; and CrCl = creatinine clearance

Patients with renal impairment taking P-gp and weak to moderate CYP3A4 inhibitors may have
significant increases in exposure which may increase bleeding risk /see Drug Interactions (7.6)].

Nonvalvular Atrial Fibrillation

In the ROCKET AF trial, patients with CrCl 30 to 50 mL/min were administered XARELTO
15 mg once daily resulting in serum concentrations of rivaroxaban and clinical outcomes similar
to those in patients with better renal function administered XARELTO 20 mg once daily.
Patients with CrCl 15 to 30 mL/min were not studied, but administration of XARELTO 15 mg
once daily is also expected to result in serum concentrations of rivaroxaban similar to those in

patients with normal renal function /see Dosage and Administration (2.1)].

Prophylaxis of Deep Vein Thrombosis

The combined analysis of the RECORD 1-3 clinical efficacy studies did not show an increase in
bleeding risk for patients with moderate renal impairment and reported a possible increase in
total VTE in this population. Observe closely and promptly evaluate any signs or symptoms of
blood loss in patients with moderate renal impairment (CrCl 30 to <50 mL/min). Avoid the use

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of XARELTO in patients with severe renal impairment (CrCl <30 mL/min) [see Dosage and
Administration (2.3) and Warnings and Precautions (5.2)].

8.8 Hepatic Impairment

The safety and pharmacokinetics of single-dose XARELTO (10 mg) were evaluated in a study in
healthy subjects (n=16) and subjects with varying degrees of hepatic impairment (see Table 5).
No patients with severe hepatic impairment (Child-Pugh C) were studied. Compared to healthy
subjects with normal liver function, significant increases in rivaroxaban exposure were observed
in subjects with moderate hepatic impairment (Child-Pugh B). Increases in pharmacodynamic

effects were also observed.

Table 5: Percent Increase of Rivaroxaban PK and PD Parameters from Normal in Subjects with Hepatic
Insufficiency from a Dedicated Hepatic Impairment Study
Hepatic Impairment Class
(Child-Pugh Class)

Parameter Mild Moderate
(Child-Pugh A) (Child-Pugh B)
N=8 N=8
Exposure AUC 15 127
(% increase relative to normal) = Cyax 0 27
FXa Inhibition AUC 8 159
(% increase relative tonormal) — Enax 0 24
PT Prolongation AUC 6 114
(% increase relative to normal) Emax 2 41

PT = Prothrombin time; FXa = Coagulation factor Xa; AUC = Area under the concentration or effect curve;
Cmax = Maximum concentration; Emax = maximum effect

Avoid the use of XARELTO in patients with moderate (Child-Pugh B) and severe (Child-Pugh
C) hepatic impairment or with any hepatic disease associated with coagulopathy /see Dosage
and Administration (2.3) and Warnings and Precautions (5.2)].

10 OVERDOSAGE

Overdose of XARELTO may lead to hemorrhage. A specific antidote for rivaroxaban is not
available. Rivaroxaban systemic exposure is not further increased at single doses >50 mg due to
limited absorption. Discontinue XARELTO and initiate appropriate therapy if bleeding
complications associated with overdosage occur. The use of activated charcoal to reduce
absorption in case of XARELTO overdose may be considered. Due to the high plasma protein
binding, rivaroxaban is not expected to be dialyzable /see Warnings and Precautions (5.2) and
Clinical Pharmacology (12.3)].

11 DESCRIPTION
Rivaroxaban, a factor Xa inhibitor, is the active ingredient in XARELTO Tablets with the

chemical name 5-Chloro-N-({(5S)-2-0xo-3-[4-(3-oxo-4-morpholiny])pheny1]-1 ,3-oxazolidin-5-

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yl} methyl)-2-thiophenecarboxamide. The molecular formula of rivaroxaban is Ci oH sCIN3058
and the molecular weight is 435.89. The structural formula is:

Ap-d,
OD Qe

Rivaroxaban is a pure (S)-enantiomer. It is an odorless, non-hygroscopic, white to yellowish |
powder. Rivaroxaban is only slightly soluble in organic solvents (e.g., acetone, polyethylene
glycol 400) and is practically insoluble in water and aqueous media.

Bach XARELTO tablet contains 10mg, 15mg, or 20mg of rivaroxaban. The inactive
ingredients of XARELTO are: croscarmellose sodium, hypromellose, lactose monohydrate,
magnesium stearate, microcrystalline cellulose, and sodium lauryl sulfate. Additionally, the
proprietary film coating mixture used for XARELTO 10 mg tablets is Opadry® Pink and
XARELTO 15mg tablets is Opadry® Red, containing ferric oxide red, hypromellose,
polyethylene glycol 3350, and titanium dioxide, and for XARELTO 20 mg tablets is Opadry® I
Dark Red, containing ferric oxide red, polyethylene glycol 3350, polyvinyl] alcohol (partially
hydrolyzed), talc, and titanium dioxide.

42 CLINICAL PHARMACOLOGY
12.1 Mechanism of Action

XARELTO is an orally bioavailable factor Xa inhibitor that selectively blocks the active site of
factor Xa and does not require a cofactor (such as Anti-thrombin II) for activity. Activation of
factor X to factor Xa (FXa) via the intrinsic and extrinsic pathways plays a central role in the

cascade of blood coagulation.

12.2 Pharmacodynamics

Dose-dependent inhibition of factor Xa activity was observed in humans and the Neoplastin®
prothrombin time (PT), activated partial thromboplastin time (aPTT) and HepTest® are
prolonged dose-dependently. Anti-factor Xa activity is also influenced by rivaroxaban.

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12.3 Pharmacokinetics

Absorption

The absolute bioavailability of rivaroxaban is dose-dependent. For the 10 mg dose, it is estimated
to be 80% to 100% and is not affected by food. XARELTO 10 mg tablets can be taken with or
without food {see Dosage and Administration (2.2)].

The absolute bioavailability of rivaroxaban at a dose of 20mg in the fasted state is
approximately 66%. Coadministration of XARELTO with food increases the bioavailability of
the 20 mg dose (mean AUC and Cmax increasing by 39% and 76% respectively with food).
XARELTO 15 mg and 20 mg tablets should be taken with the evening meal /see Dosage and
Administration (2.1)].

The maximum concentrations (Cmax) of rivaroxaban appear 2 to 4 hours after tablet intake. The
pharmacokinetics of rivaroxaban were not affected by drugs altering gastric pH.
Coadministration of XARELTO (30 mg single dose) with the Hp-receptor antagonist ranitidine
(150 mg twice daily), the antacid aluminum hydroxide/magnesium hydroxide (10 mL) or
XARELTO (20 mg single dose) with the PPI omeprazole (40 mg once daily) did not show an
effect on the bioavailability and exposure of rivaroxaban.

Absorption of rivaroxaban is dependent on the site of drug release in the GI tract. A 29% and
56% decrease in AUC and Cinax compared to tablet was reported when rivaroxaban granulate is
released in the proximal small intestine. Exposure is further reduced when drug is released in the
distal small intestine, or ascending colon. Avoid administration of rivaroxaban via a method that
could deposit drug directly into the proximal small intestine (e.g., feeding tube) which can result

in reduced absorption and related drug exposure.

Distribution
Plasma protein binding of rivaroxaban in human plasma is approximately 92% to 95%, with

albumin being the main binding component. The steady-state volume of distribution in healthy

subjects is approximately 50 L.

Metabolism
Approximately 51% of an orally administered ('4C]-rivaroxaban dose was recovered as

metabolites in urine (30%) and feces (21%). Oxidative degradation catalyzed by CYP3A4/5 and
CYP2J2 and hydrolysis are the major sites of biotransformation. Unchanged rivaroxaban was the

predominant moiety in plasma with no major or active circulating metabolites.

Excretion
Following oral administration of a ('“C]-rivaroxaban dose, 66% of the radioactive dose was
recovered in urine (36% as unchanged drug) and 28% was recovered in feces (7% as unchanged

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drug). Unchanged drug is excreted into urine, mainly via active tubular secretion and to a lesser
extent via glomerular filtration (approximate 5:1 ratio). Rivaroxaban is a substrate of the efflux
transporter proteins P-gp and ABCG2 (also abbreviated Berp). Rivaroxaban’s affinity for influx

transporter proteins is unknown.

Rivaroxaban is a low-clearance drug, with a systemic clearance of approximately 10 L/hr in
healthy volunteers following intravenous administration. The terminal elimination half-life of
rivaroxaban is 5 to 9 hours in healthy subjects aged 20 to 45 years.

Specific Populations

Gender
Gender did not influence the pharmacokinetics or pharmacodynamics of XARELTO.

Race
Healthy Japanese subjects were found to have 20 to 40% on average, higher exposures compared

to other ethnicities including Chinese. However, these differences in exposure are reduced when

values are corrected for body weight.

Elderly
In clinical studies, elderly subjects exhibited higher rivaroxaban plasma concentrations than

younger subjects with mean AUC values being approximately 50% higher, mainly due to
reduced (apparent) total body and renal clearance. Age related changes in renal function may
play a role in this age effect. The terminal elimination half-life is 11 to 13 hours in the elderly
[see Use in Specific Populations (8.5)].

Body Weight
Extremes in body weight (<50 kg or >120 kg) did not influence (less than 25%) rivaroxaban

exposure,

Drug Interactions
In vitro studies indicate that rivaroxaban neither inhibits the major cytochrome P450 enzymes

CYPI1A2, 2C8, 2C9, 2C19, 2D6, 2J2, and 3A4 nor induces CYP1A2, 2B6, 2C19, or 3A4.

In vitro data also indicates a low rivaroxaban inhibitory potential for P-gp and ABCG2

_ transporters,

In addition, there were no significant pharmacokinetic interactions observed in studies
comparing concomitant rivaroxaban 20 mg and 7.5 mg single dose of midazolam (substrate of
CYP3A4), 0.375 mg once-daily dose of digoxin (substrate of P-gp), or 20 mg once daily dose of
atorvastatin (substrate of CYP3A4 and P-gp) in healthy volunteers.

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12.6 QT/QTc Prolongation

In a thorough QT study in healthy men and women aged 50 years and older, no QTc prolonging
effects were observed for XARELTO (15 mg and 45 mg, single-dose).

13 NON-CLINICAL TOXICOLOGY
13.1 Carcinogenesis, Mutagenesis, and Impairment of Fertility

Rivaroxaban was not carcinogenic when administered by oral gavage to mice or rats for up to 2
years. The systemic exposures (AUCs) of unbound rivaroxaban in male and female mice at the
highest dose tested (60 mg/kg/day) were 1- and 2-times, respectively, the human exposure of
unbound drug at the human dose of 20 mg/day. Systemic exposures of unbound drug in male and
female rats at the highest dose tested (60 mg/kg/day) were 2- and 4-times, respectively, the

human exposure.

Rivaroxaban was not mutagenic in bacteria (Ames-Test) or clastogenic in V79 Chinese hamster

lung cells in vitro or in the mouse micronucleus test in vivo.

No impairment of fertility was observed in male or female rats when given up to 200 mg/kg/day
of rivaroxaban orally. This dose resulted in exposure levels, based on the unbound AUC, at least
13 times the exposure in humans given 20 mg rivaroxaban daily.

14 CLINICAL STUDIES
14.1 Stroke Prevention in Nonvalvular Atrial Fibrillation

The evidence for the efficacy and safety of XARELTO was derived from ROCKET AF, a multi-
national, double-blind study comparing XARELTO (at a dose of 20 mg once daily with the
evening meal in patients with CrCl >50 mL/min and 15 mg once daily with the evening meal in
patients with CrCl 30 to <50 mL/min) to warfarin (titrated to INR 2.0 to 3.0) to reduce the risk of
stroke and non-central nervous system (CNS) systemic embolism in patients with nonvalvular
atrial fibrillation (AF). Patients had to have one or more of the following additional risk factors

for stroke:
e a prior stroke (ischemic or unknown type), transient ischemic attack (TIA) or non-
CNS systemic embolism, or
e 2or more of the following risk factors:
Oo age =75 years,
o hypertension,
o heart failure or left ventricular ejection fraction <35%, or

o diabetes mellitus

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ROCKET AF was a non-inferiority study designed to demonstrate that XARELTO preserved
more than 50% of warfarin’s effect on stroke and non-CNS systemic embolism as established by
previous placebo-controlled studies of warfarin in atrial fibrillation.

A total of 14264 patients were randomized and followed on study treatment for a median of 590
days. The mean age was 71 years and the mean CHADS) score was 3.5. The population was
60% male, 83% Caucasian, 13% Asian and 1.3% Black. There was a history of stroke, TIA, or
non-CNS systemic embolism in 55% of patients, and 38% of patients had not taken a vitamin K
antagonist (VKA) within 6 weeks at time of screening. Concomitant diseases of patients in this
study included hypertension 91%, diabetes 40%, congestive heart failure 63%, and prior
myocardial infarction 17%. At baseline, 37% of patients were on aspirin (almost exclusively at a
dose of 100 mg or less) and few patients were on clopidogrel. Patients were enrolled in Eastern
Europe (39%); North America (19%); Asia, Australia, and New Zealand (15%); Western Europe
(15%); and Latin America (13%). Patients randomized to warfarin had a mean percentage of
time in the INR target range of 2.0 to 3.0 of 55%, lower during the first few months of the study.

In ROCKET AF, XARELTO was demonstrated non-inferior to warfarin for the primary
composite endpoint of time to first occurrence of stroke (any type) or non-CNS systemic
embolism [HR (95% Cl): 0.88 (0.74, 1.03)], but superiority to warfarin was not demonstrated.
There is insufficient experience to determine how XARELTO and warfarin compare when

warfarin therapy is well-controlled.
Table 6 displays the overall results for the primary composite endpoint and its components.

Table 6: Primary Composite Endpoint Results in ROCKET AF Study

XARELTO Warfarin XARELTO vs.
Warfarin
N = 7081 Event Rate N = 7090 Event Rate Hazard Ratio
Event n(%) (per 100 Pt- n(%) (per 100 Pt- (95% CD
yrs) yrs)
Primary Composite
En dpoin ’ P 269 (3.8) 2.1 306 (4.3) 2.4 0.88 (0.74, 1.03)
Stroke 253 (3.6) 2.0 281 (4.0) 2.2
Hemorrhagic Stroke 33 (0.5) 0.3 57 (0.8) 0.4
Ischemic Stroke 206 (2.9) 1.6 208 (2.9) 1.6
Unknown Stroke Type 19 (0.3) 0.2 18 (0.3) 0.1
Non-CNS Systemic
rmbolism y 20 (0.3) 0.2 27 (0.4) 0.2

* The primary endpoint was the time to first occurrence of stroke (any type) or non-CNS systemic embolism, Data
are shown for all randomized patients followed to site notification that the study would end.

Figure | is a plot of the time from randomization to the occurrence of the first primary endpoint

event in the two treatment arms.

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Figure ti: Time to First Occurrence of Stroke (any type) or Non-CNS Systemic Embolism by
Treatment Group

XARELTO

Warfarin 99-7777 777

Cumulative Event Rates (%)
aw
|

88 (0.74, 1.03)
T ]
0 90 180 270 360 450 540 630 720 810 900

HR (95% Cl):
0.

Days from Randomization
Number of Subjects at Risk:

XARELTO 7081 6927 6774 6620 6470 5580 4779 3820 2951 2058 1324
Warfarin 7090 6910 6755 6590 6440 5561 4756 3807 2944 2069 1319

The efficacy of XARELTO was generally consistent across major subgroups.

The protocol for ROCKET AF did not stipulate anticoagulation after study drug discontinuation,
but warfarin patients who completed the study were generally maintained on warfarin.
XARELTO patients were generally switched to warfarin without a period of co-administration of
warfarin and XARELTO, so that they were not adequately anticoagulated after stopping
XARELTO until attaining a therapeutic INR. During the 28 days following the end of the study,
there were 22 strokes in the 4637 patients taking XARELTO vs. 6 in the 4691 patients taking

warfarin.

Few patients in ROCKET AF underwent electrical cardioversion for atrial fibrillation. The utility
of XARELTO for preventing post-cardioversion stroke and systemic embolism is unknown.

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14.2 Prophylaxis of Deep Vein Thrombosis

XARELTO was studied in 9011 patients (4487 XARELTO-treated, 4524 enoxaparin-treated
patients) in the RECORD 1, 2, and 3 studies.

The two randomized, double-blind, clinical studies (RECORD 1 and 2) in patients undergoing
elective total hip replacement surgery compared XARELTO 10 mg once daily starting at least
6 to 8 hours (about 90% of patients dosed 6 to 10 hours) after wound closure versus enoxaparin
40 mg once daily started 12 hours preoperatively. In RECORD 1 and 2, a total of 6727 patients
were randomized and 6579 received study drug. The mean age [+ standard deviation (SD)] was
63 + 12.2 (range 18 to 93) years with 49% of patients >65 years and 55% of patients were
female. More than 82% of patients were White, 7% were Asian, and less than 2% were Black.
The studies excluded patients undergoing staged bilateral total hip replacement, patients with
severe renal impairment defined as an estimated creatinine clearance <30 mL/min, or patients
with significant liver disease (hepatitis or cirrhosis). In RECORD 1, the mean exposure duration
(+ SD) to active XARELTO and enoxaparin was 33.3 + 7.0 and 33.6 + 8.3 days, respectively. In
RECORD 2, the mean exposure duration to active XARELTO and enoxaparin was 33.5 + 6.9
and 12.4 + 2.9 days, respectively. After Day 13, oral placebo was continued in the enoxaparin
group for the remainder of the double-blind study duration. The efficacy data for RECORD |

and 2 are provided in Table 7.

Table 7: Summary of Key Efficacy Analysis Results for Patients Undergoing Total Hip Replacement
Surgery - Modified Intent-to-Treat Population
RECORD 1 RECORD 2
Treatment Dosage XARELTO Enoxaparin XARELTO | Enoxaparin’
and Duration 10 mg once 40 mg once RRR’, 10 mg once | 40 mg once RRR’,
daily daily p-value daily daily p-value
Number of Patients N= 1513 N = 1473 N = 834 N = 835
Total VIE 17 (1.1%) 57 (3.9%) 71% 17 (2.0%) 70 (8.4%) 76%
(95% CI: 50, (95% CI: 59,
83), 86),
p<0.001 p<0.001
Components of Total VTE
Proximal DVT 1 (0.1%) 31 2.1%) 5 (0.6%) 40 (4.8%)
Distal DVT 12 (0.8%) 26 (1.8%) 11 (1.3%) 43 (5.2%)
Non-fatal PE 3 (0.2%) 1 (0.1%) 1 (0.1%) 4 (0.5%)
Death (any 4 (0.3%) 4 (0.3%) 2 (0.2%) 4 (0.5%)
cause)
Number of Patients N= 1600 N = 1587 N= 928 N = 929
Major VTE 3 (0.2%) 33 (2.1%) 91% (95% 6 (0.7%) 45 (4.8%) 87% (95%
CI: 71, 97), Cl: 69, 94),
p<0.001 p<0.001
Number of Patients N = 2103 N = 2119 N= 1178 N=1179
Symptomatic VTE 5 (0.2%) 11 (0.5%) 3 (0.3%) 15 (1.3%)

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Reference ID:

Relative Risk Reduction; Cl=confidence interval
Includes the placebo-controlled period of RECORD 2
Proximal DVT, nonfatal PE or VTE-related death

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One randomized, double-blind, clinical study (RECORD 3) in patients undergoing elective total
knee replacement surgery compared XARELTO 10 mg once daily started at least 6 to 8 hours
(about 90% of patients dosed 6 to 10 hours) after wound closure versus enoxaparin. In RECORD
3, the enoxaparin regimen was 40 mg once daily started 12 hours preoperatively. The mean age
(+ SD) of patients in the study was 68 + 9.0 (range 28 to 91) years with 66% of patients >65
years. Sixty-eight percent (68%) of patients were female. Eighty-one percent (81%) of patients
were White, less than 7% were Asian, and less than 2% were Black. The study excluded patients
with severe renal impairment defined as an estimated creatinine clearance <30 mL/min or
patients with significant liver disease (hepatitis or cirrhosis). The mean exposure duration (+ SD)
to active XARELTO and enoxaparin was 11.9 + 2.3 and 12.5 + 3.0 days, respectively. The
efficacy data are provided in Table 8.

Table 8: Summary of Key Efficacy Analysis Results for Patients Undergoing Total Knee Replacement
Surgery - Modified Intent-to-Treat Population

RECORD 3
Treatment Dosage and XARELTO Enoxaparin
Duration 10 mg once daily 40 mg once daily RRR’,
p-value
Number of Patients N = 813 N = 871
Total VTE 79 (9.7%) 164 (18.8%) 48%
(95% CI: 34, 60),
p<0.001
Components of events contributing to Total VTE
Proximal DVT 9 (1.1%) 19 (2.2%)
Distal DVT 74 (9.1%) 154 (17.7%)
Non-fatal PE 0 4 (0.5%)
Death (any cause) 0 2 (0.2%)
Number of Patients N = 895 N= 917
Major VTE’ 9 (1.0%) 23 (2.5%) 60% (95% CI: 14, 81),
p=0.024
Number of Patients N = 1206 N = 1226
Symptomatic VTE 8 (0.7%) 24 (2.0%)

Relative Risk Reduction; Cl=confidence interval
Proximal DVT, nonfatal PE or VTE-related death

~

16 HOW SUPPLIED/STORAGE AND HANDLING
XARELTO (rivaroxaban) Tablets are available in the strengths and packages listed below:

e 10mg tablets are round, light red, biconvex film-coated tablets marked with a triangle
pointing down above a “10” on one side, and an “Xa” on the other side. The tablets are

supplied in the packages listed:
NDC 50458-580-30 Bottle containing 30 tablets

NDC 50458-580-10 Blister package containing 100 tablets (10 blister cards
containing 10 tablets each)

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e 15mg tablets are round, red, biconvex film-coated tablets with a triangle pointing down
above a “15” marked on one side and “Xa” on the other side. The tablets are supplied in the

packages listed:

NDC 50458-578-30 Bottle containing 30 tablets
NDC 50458-578-90 Bottle containing 90 tablets
NDC 50458-578-10 Blister package containing 100 tablets (10 blister cards

containing 10 tablets each)

* 20 mg tablets are triangle-shaped, dark red film-coated tablets with a triangle pointing down
above a “20” marked on one side and “Xa” on the other side. The tablets are supplied in the

packages listed:

NDC 50458-579-30 Bottle containing 30 tablets
NDC 50458-579-90 Bottle containing 90 tablets
NDC 50458-579-10 Blister package containing 100 tablets (10 blister cards

containing 10 tablets each)

Store at 25° C (77° F) or room temperature; excursions permitted to 15°-30° C (59°-86° F)
[see USP Controlled Room Temperature].

Keep out of the reach of children.

17 PATIENT COUNSELING INFORMATION
See FDA-approved patient labeling (Medication Guide).

17.1 Instructions for Patient Use
e Advise patients to take XARELTO only as directed.

* Remind patients to not discontinue XARELTO without first talking to their healthcare
professional.

e Advise patients with atrial fibrillation to take XARELTO once daily with the evening
meal.

e Ifa dose is missed, advise the patient to take XARELTO as soon as possible on the same
day and continue on the following day with their recommended daily dose regimen.

17.2 Bleeding Risks

* Advise patients to report any unusual bleeding or bruising to their physician. Inform
patients that it might take them longer than usual to stop bleeding, and that they may

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bruise and/or bleed more easily when they are treated with XARELTO /see Warnings
and Precautions (5.2)].

e If patients have had neuraxial anesthesia or spinal puncture, and particularly, if they are
taking concomitant NSAIDs or platelet inhibitors, advise patients to watch for signs and
symptoms of spinal or epidural hematoma, such as tingling, numbness (especially in the
lower limbs) and muscular weakness. If any of these symptoms occur, advise the patient
to contact his or her physician immediately /see Boxed Warning].

17.3. Invasive or Surgical Procedures

Instruct patients to inform their health care professional that they are taking XARELTO before
any invasive procedure (including dental procedures) is scheduled.

17.4 Concomitant Medication and Herbals

Advise patients to inform their physicians and dentists if they are taking, or plan to take, any
prescription or over-the-counter drugs or herbals, so their healthcare professionals can evaluate

potential interactions [see Drug Interactions (7)].

17.5 Pregnancy and Pregnancy-Related Hemorrhage

e Advise patients to inform their physician immediately if they become pregnant or intend
to become pregnant during treatment with XARELTO [see Use in Specific Populations

(8.1)].

e Advise pregnant women receiving XARELTO to immediately report to their physician
any bleeding or symptoms of blood loss /see Warnings and Precautions (5.4)].

17.6 Nursing
Advise patients to discuss with their physician if they are nursing or intend to nurse during
anticoagulant treatment [see Use in Specific Populations (8.3)].

17.7 Females of Reproductive Potential

Advise patients who can become pregnant to discuss pregnancy planning with their physician
[see Use in Specific Populations (8.6)].

Active Ingredient Made in Germany
Finished Product Manufactured by:

Janssen Ortho, LLC
Gurabo, PR 00778

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Manufactured for:
Janssen Pharmaceuticals, Inc.
Titusville, NJ 08560

Licensed from:
Bayer HealthCare AG

51368 Leverkusen, Germany

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MEDICATION GUIDE
XARELTO® (zah-REL-toe)
(rivaroxaban)
Tablets

Read this Medication Guide before you start taking XARELTO and each time you get
a refill. There may be new information. This Medication Guide does not take the
place of talking with your doctor about your medical condition or your treatment.

What is the most important information I should know about XARELTO?

° For people taking XARELTO for atrial fibrillation:

People with atrial fibrillation (an irregular heart beat) are at an increased risk
of forming a blood clot in the heart, which can travel to the brain, causing a
stroke, or to other parts of the body. XARELTO lowers your chance of having
a stroke by helping to prevent clots from forming. If you stop taking
XARELTO, you may have increased risk of forming a clot in your blood.

Do not stop taking XARELTO without talking to the doctor who
prescribes it for you. Stopping XARELTO increases your risk of having
a stroke.

If you have to stop taking XARELTO, your doctor may prescribe another
blood thinner medicine to prevent a blood clot from forming.

e XARELTO can cause bleeding which can be serious, and rarely may lead to
death. This is because XARELTO is a blood thinner medicine that reduces
blood clotting. While you take XARELTO you are likely to bruise more easily
and it may take longer for bleeding to stop.

You may have a higher risk of bleeding if you take XARELTO and take other
medicines that increase your risk of bleeding, including:

aspirin or aspirin containing products
non-steroidal anti-inflammatory drugs (NSAIDs)
warfarin sodium (Coumadin®, Jantoven®)

any medicine that contains heparin

clopidogrel (Plavix®)

prasugrel (Effient®)

ticagrelor (Brilinta®)

Tell your doctor if you take any of these medicines. Ask your doctor or
pharmacist if you are not sure if your medicine is one listed above.

Call your doctor or get medical help right away if you develop any of
these signs or symptoms of bleeding:
e unexpected bleeding or bleeding that lasts a long time, such as:
o nose bleeds that happen often
o unusual bleeding from the gums

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o menstrual bleeding that is heavier than normal or vaginal
bleeding

bleeding that is severe or you cannot control

red, pink or brown urine

bright red or black stools (looks like tar)

cough up blood or blood clots

vomit blood or your vomit looks like “coffee grounds”

headaches, feeling dizzy or weak

pain, swelling, or new drainage at wound sites

See “What are the possible side effects of XARELTO?” for more information
about side effects.

What is XARELTO?

XARELTO is a prescription medicine used to:

o reduce the risk of stroke and blood clots in people who have a medical
condition called atrial fibrillation. With atrial fibrillation, part of the heart
does not beat the way it should. This can lead to the formation of blood
clots, which can travel to the brain, causing a stroke, or to other parts of
the body.

o reduce the risk of forming a blood clot in the legs and lungs of people who
have just had hip or knee replacement surgery.

It is not known if XARELTO is safe and works in children.

Who should not take XARELTO?
Do not take XARELTO if you:

currently have certain types of abnormal bleeding. Talk to your doctor before
taking XARELTO if you currently have unusual bleeding.

are allergic to rivaroxaban or any of the ingredients in XARELTO. See the end
of this leaflet for a complete list of ingredients in XARELTO.

What should I tell my doctor before taking XARELTO?
Before you take XARELTO, tell your doctor if you:

have ever had bleeding problems
have liver or kidneys problems
have any other medical condition

are pregnant or planning to become pregnant. It is not Known if XARELTO
will harm your unborn baby.

are breastfeeding or plan to breastfeed. It is not known if XARELTO passes
into your breast milk. You and your doctor should decide if you will take
XARELTO or breastfeed.

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Tell all of your doctors and dentists that you are taking XARELTO. They should talk
to the doctor who prescribed XARELTO for you before you have any surgery,
medical or dental procedure.

Tell your doctor about all the medicines you take, including prescription
and nonprescription medicines, vitamins, and herbal supplements. Some of
your other medicines may affect the way XARELTO works. Certain medicines may
increase your risk of bleeding. See “What is the most important information I
should know about XARELTO?”

Especially tell your doctor if you take:

e ketoconazole (Nizoral®)

itraconazole (Onmel’, Sporanox

e ritonavir (Norvir®)

e jopinavir/ritonavir (Kaletra

e indinavir (Crixivan®)

e carbamazepine (Carbatrol®, Equetro®, Tegretol®, Tegretol®-XR, Teril”,
Epitol®)

* phenytoin (Dilantin-125®, Dilantin®, Phenobarbital, Solfoton”)

* rifampin (Rifater®, Rifamate®, Rimactane®, Rifadin®)

e St. John’s wort (Hypericum perforatum)

°)

°)

Ask your doctor if you are not sure if your medicine is one listed above.

Know the medicines you take. Keep a list of them to show your doctor and
pharmacist when you get a new medicine.

How should I take XARELTO?

e Take XARELTO exactly as prescribed by your doctor. Do not change your
dose or stop taking XARELTO unless your doctor tells you to.

e For people who have:

o atrial fibrillation: Take XARELTO 1 time a day with your evening
meal. Stopping XARELTO may increase your risk of having a stroke
or forming blood clots in other parts of your body.

o hip or knee replacement surgery: Take XARELTO 1 time a day with or
without food.

e Your doctor will decide how long you should take XARELTO. Do not
stop taking XARELTO without talking with your doctor first.

e Your doctor may stop XARELTO for a short time before any surgery, medical
or dental procedure. Your doctor will tell you when to start taking XARELTO
again after your surgery or procedure.

* Do not run out of XARELTO. Refill your prescription of XARELTO before you
run out. When leaving the hospital following a hip or knee replacement, be
sure that you will have XARELTO available to avoid missing any doses.

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* If you miss a dose of XARELTO, take it as soon as you remember on the
same day.

e If you take too much XARELTO, go to the nearest hospital emergency room
or call your doctor right away.

What are the possible side effects of XARELTO?

e See “What is the most important information I should know about
XARELTO?”

Tell your doctor if you have any side effect that bothers you or that does not go
away.

Call your doctor for medical advice about side effects. You may report side effects
to FDA at 1-800-FDA-1088.

How should I store XARELTO?

e Store XARELTO at room temperature between 59° to 86°F (15° to 30° C).
Keep XARELTO and all medicines out of the reach of children.
General information about XARELTO.

Medicines are sometimes prescribed for purposes other than those listed in a
Medication Guide. Do not use XARELTO for a condition for which it was not
prescribed. Do not give XARELTO to other people, even if they have the same
condition. It may harm them.

This Medication Guide summarizes the most important information about XARELTO.
If you would like more information, talk with your doctor. You can ask your
pharmacist or doctor for information about XARELTO that is written for health
professionals.

For more information call 1-800-526-7736 or go to www.XARELTO-US.com.

What are the ingredients in XARELTO?

Active ingredient: rivaroxaban

Inactive ingredients: croscarmellose sodium, hypromellose, lactose monohydrate,
magnesium stearate, microcrystalline cellulose, and sodium lauryl sulfate.

The proprietary film coating mixture for XARELTO 10 mg tablets is Opadry® Pink
contains: ferric oxide red, hypromellose, polyethylene glycol 3350, and titanium
dioxide.

The proprietary film coating mixture for XARELTO 15 mg tablets is Opadry® Red,
contains: ferric oxide red, hypromellose, polyethylene glycol 3350, and titanium
dioxide.

The proprietary film coating mixture for XARELTO 20 mg tablets is Opadry® II Dark
Red, contains: ferric oxide red, polyethylene glycol 3350, polyvinyl alcohol (partially
hydrolyzed), talc, and titanium dioxide.

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